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                                                                                        FILED
                                                                            United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                               Tenth Circuit

                              FOR THE TENTH CIRCUIT                                March 27, 2023
                          _________________________________
                                                                                Christopher M. Wolpert
                                                                                    Clerk of Court
 ALEJANDRO MENOCAL, et al.,

        Plaintiffs - Appellees,

 v.                                                              No. 22-1409
                                                     (D.C. No. 1:14-CV-02887-JLK-MEH)
 THE GEO GROUP, INC.,                                             (D. Colo.)

        Defendant - Appellant.
                       _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court on Plaintiffs-Appellees’ Motion to File a

Provisionally Sealed Volume of the Supplemental Appendix (“Motion”). In the Motion,

Appellees ask the court to provisionally seal Volume 3 of their supplemental appendix,

which contains materials that were filed under seal in the district court pursuant to a

protective order. Appellees state, however, that they do not believe that any of the

materials that comprise Volume 3 need to remain sealed on appeal.

        This court takes seriously the question of whether sealing is warranted in any

particular case, even when the documents at issue were filed under seal in the district

court. “A party seeking to file court records under seal must overcome a presumption,

long supported by courts, that the public has a common-law right of access to judicial

records.... To do so, the parties must articulate a real and substantial interest that justifies

depriving the public of access to the records that inform our decision-making process.”
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Eugene S. v. Horizon Blue Cross Blue Shield of New Jersey, 663 F.3d 1124, 1135-36

(10th Cir. 2011) (quotation marks and citations omitted).

       Within ten days of the date of this order, any party who seeks the continued

sealing of any of the materials that comprise Volume 3 of the supplemental appendix

shall file a response to this order in compliance with Tenth Circuit Rule 25.6. Any such

response shall set forth in detail (1) the basis for the requested sealing, with reference to

the specific nature of the material sought to be protected from public disclosure; (2) the

legal basis for depriving the public of access to the materials at issue, with reference to

this court’s precedent; and (3) the reasons why redaction is not practicable means of

providing public access to as much of the record material as possible. Any party who

does not file a timely response to this order will be deemed to acquiesce in the unsealing

of Volume 3 of the supplemental appendix.


                                               Entered for the Court,



                                               CHRISTOPHER M. WOLPERT, Clerk




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